EXHIBIT C
.,lttorne) ot Por\' i tthout A orner                                                                                Fot Cou Llse Only
    DENTONS DURHAM JONES PINEGAR
    lll South Main Street. Suite 2400
    SALT LAKE CITY. UT 84 IO I


Te lephone No   : 80 I 4 I 5-3000

Attorneylor: Plaintiff
lnsert hame ofcou ,.!nd Judtcial Distrrct antl Branch Coutt:
  United States District Court for the District of Utah
t,tatntfJ:MATHEW SHAW and BROOKE SHAW
I)elendont: JULIUS MWALE and KAILA MWALE
    AFFIDAVIT OF                                   Ileo ng Dote                               Dept'Div
    REASONABLE DILIGENCE                                                                                     l:24-cv-00122



I   . I, Len Warren, and any employee or independent contractors retained by ABOINCO SERVICES are and were on the dates
     mentioned herein over the age of eighteen years and not a party to this action. Penonal service was attempted on Defendant
     JULIUS MWALE as follows:

2. Documenls: Summons in a Civil Actioni Complaint.
    Da      Date            Time        Location               Results
    Sat 07 /27 24           2:32pm Home                    This is a secured property, gated. I rang the intercom with no response. Attempt
                                                           made by: Len Warren, Registration #1035 Alameda County. Attempt at: l0 Serenity
                                                           Lane Alamo. CA 94507.

    Mon 07/29/24 7:32pm Home                               I rang the intercom with no response. I can't see the home from the gate, nobody
                                                           around. Attempt made by: Len Warren, Registration #1035 Alameda County.
                                                           Attempt at: l0 Serenity Lane Alamo, CA94507.

    Thu 08/01/24 8:37am Home                               I rang the intercom with no response. Nobody seen. Anempt made by: Len Wanen,
                                                           Registration #1035 Alameda County. Attempt at: l0 Serenity Lane Alamo, CA
                                                           94507.

    Sat 08/03/24 I l:l3am Home                             I rang the intercom with no response. Iwaitedaround for several minutesto see if
                                                           someone would come or go but nobody seen. Attempt made by: Len Wanen.
                                                           Registration #1035 Alameda County. Attempt at: l0 Serenity Lane Alamo. CA
                                                           9450',7 .


    Thu 08/08D4 4:03pm Home                                I rang the intercom with no response. Nobody seen. Attempt made by: Len Warren,
                                                           Registration #1035 Alameda County. Attempt at: l0 Serenity Lane Alamo, CA
                                                           94507 .




Page Number I
      D ate : F ri, Attg. 09, 2024                                                                                             4l530abc 2d6641
                                                AFFIDAVIT OF REASONABLE DILIGENCE
7 t r,-"yi, F d, ry;An'"t *'nett                                                                                   Fot Court Use Only
  DENTONS DURHAM JONES PINEGAR
   I I I South Main Street, Suite 2400
  SALT LAKECITY, UT 8410I


retephone N o : 801 41 5-3000

Artorneylor:Plair,tiff
Insert nane ofCourt. and Judicial District and Branch Coutt:
 United States District Court for the District of Utah
Ptatnrift:lvlATHEW SHAW and BROOKE SHAW
DeJendon, IULIUS MWALE and KAILA MWALE
AFFIDAVIT OF                                       Heo ng Dale                              Dept/Div

REASONABLE DILIGENCE                                                                                      l:24-cv-00122



 Day Date                Time           Location           Results
 Thu 08108124 4:03pm Home                                  Retumed Not Served on    JULIUS MWALE Home - l0 Serenity Lane Alamo, CA
                                                           94507




3. Person E\ecuting
    a. Len Warren                                                                  d.The Fee for service was: $75.00
    b. ABOINGO SERVICES                                                            e. I am: (3) registered Califomia process server
        t684 DECOTO ROAD #309                                                                (,    IndependentContractor
       Union City, CA 94587                                                                  (ii) Regktration No.;          1035
    c. (sl0) 783-6161, FAX (510) 783-6165                                                    (iii) County:                 Alameda
                                                                                             (iv) Expiration Dqte;         Fri, Oct.31,2025

1. I declare under penal1' ol peiury under the laws of the Stale of Lltah ond under lhe laws of the Uniled Slates Of Amefica lhdl
   lhelorcgoing k lrue dnd cotecl
     Date: Fri, Aug. 09, 2024
Page Number 2
                                                                                                         Warren)
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                                                 AFFIDAVIT OF REASONABLE DILIGENCE
         Case 1:24-cv-00122-AMA-DAO Document 9 Filed 07/25/24 PageID.42 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                           District
                                                    __________      of Utah
                                                               District of __________

                                                                    )
                                                                    )
                                                                    )
         MATHEW SHAW and BROOKE SHAW                                )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:24-cv-00122
                                                                    )
                                                                    )
                                                                    )
                                                                    )
          JULIUS MWALE and KAILA MWALE                              )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) JULIUS MWALE
                                           10 SERENITY LANE
                                           ALAMO, CALIFORNIA 94507




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Aaron B. Clark
                                           Trinity Jordan
                                           Dentons Durham Jones Pinegar, P.C.
                                           111 South Main Street, Ste. 2400
                                           Salt Lake City, Utah 84101
                                           aaron.clark@dentons.com / trinity.jordan@dentons.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               Gary P Serdar
                                                                               CLERK OF COURT


Date:        07/25/2024
                                                                                         Signature of Clerk or Deputy Clerk
Attorney or Pony ttthoul Attorney:                                                                                  For Court Use Onlr-
 DENTONS DURHAM JONES PINEGAR
 I I I South Main Street, Suite 2400
 SALT LAKE CITY. UT 84IOI


rekphone N.'o : 80 I 4 I 5-3000

Auoney.tor: Plaintiff
lnserl name ofCourt. and Judrcial Dtst ct and Branch Court:
 United States District Court for the District of Utah
Ptaiarlf: MATHEW SHAW and BROOKE SHAW
Defendant: JULIUS MWALE and KAILA MWALE
AFFIDAVIT OF                                      Heafinq Date                               I)epr Dt
REASONABLE DILIGENCE                                                                                        l:24-cv-00122



l. I,, and any employee or independent contractors retained by ABOTNGO SERVICES are and were on the dates mentioned herein
     oyer the age ofeighteen years and not a party lo this action. Personal service was attempted on Defendant KAILA MWALE as
     follows:


2. Documenls: Summons in a Civil Action: Complaint
 D         Datc           Time          Locrtion              Results
 Sat 07 /2'7 124 2:32pm Home                              This is a secured property, gated. I rang the intercom with no response. Anempt
                                                          made by: Len Wamen, Registration # 1035 Alameda County. Attempt at: l0 Serenity
                                                          Lane Alamo. CA 94507.

 Mon 07 /29/24 732pm Home                                 I rang the intercom with no response. I can't see the home liom the gate, nobody
                                                          around. Attempt made by: Len Wanen, Registration # 1035 Alameda County.
                                                          Attempt at: l0 Serenity Lane Alamo. CA 94507.

 Thu 08/01124 8:37am Home                                 I rang the intercom with no response. Nobody seen. Attempt made by: Len Warren,
                                                          Registration #1035 Alameda County. Attempt at: l0 Serenity Lane Alamo, CA
                                                          94507 .

 Sat 08/03/24 I l:l3am Home                               I rang the intercom with no response. I waited around for several minutes to see if
                                                          someone would come or Bo but nobody seen. Attempt made by: Len Warren,
                                                          Registration # 1035 Alameda County. Attempt at: l0 Serenity Lane Alamo. CA
                                                          94507 .

 Thu 08/08/24 4:03pm Home                                 I rang the intercom with no response. Nobody seen. Attempt made by: Len Warren,
                                                          Registration # 1035 Alameda County. Attempt at: l0 Serenity Lane Alamo, CA
                                                          94507 .




Page Number I
     Date: Fri. Aug.09,2024                                                                                                     4l530abc 246 ,1
                                               AFFIDAVIT OF REASONABLE DILICENCE
Vi t.ieyi;F *ty *ni., t A tt o,,qr                                                                         Fot Court Use OnlJ
 DENTONS DURHAM JONES PINEGAR
 I I t South Main Street, Suite 2400
 SALT LAIG CITY, UT 84IOI


Te lephone N o   : 80 | -4 I 5 -3O00

Auorney for: Plaintiff
lnse name ofCourt. ahd Judicial Disttict dfid Brunch Coutt:
 United States District Court for the District ofUtah
P/aiarrl MATHEW SHAW and BROOKE S HAW
oefen,tant: JULIUS MWALE and KAILA MWALE
AFFIDAVIT OF                                      Heating Date        Tie         DeplDit)
REASONABLE DILIGENCE                                                                             1:24-cv-00122



  Day Date                   Time      Location          Results




3. Person E eculing
     a. Len Warren                                                       d. The Fee for service was: 543.10
     b. ABOINGO SERVICES                                                 e. I am: (3) registered Califomia process server
        1684 DECOTO ROAD #309                                                       (,   IndependentContractor
        Union City, CA 94587                                                        (ii) Registration No.;          1035
     c. (510) 783-6r61, FAX (510) 783-6165                                          (iii) County:                  Alameda
                                                                                    (iv) Expiration Dqte.          Fri, Oct. 31,2025

1. I declare under penaly of pedury undet the lstes of the State of lltah snd under tlre lau)s of the United Slates Of Ame ca lhst
   lheforegoing is lrue snd co ecl
      Date: Fri, Aug. 09, 2024
Page Number 2
                                                                                                  arren)
                                                                                                                                4l530abc.246644
                                              AFFIDAVIT OF REASONABLE DILIGENCE
         Case 1:24-cv-00122-AMA-DAO Document 8 Filed 07/25/24 PageID.40 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                           District
                                                    __________      of Utah
                                                               District of __________

                                                                    )
                                                                    )
                                                                    )
         MATHEW SHAW and BROOKE SHAW                                )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:24-cv-00122
                                                                    )
                                                                    )
                                                                    )
                                                                    )
          JULIUS MWALE and KAILA MWALE                              )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) KAILA MWALE
                                           10 SERENITY LANE
                                           ALAMO, CALIFORNIA 94507




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Aaron B. Clark
                                           Trinity Jordan
                                           Dentons Durham Jones Pinegar, P.C.
                                           111 South Main Street, Ste. 2400
                                           Salt Lake City, Utah 84101
                                           aaron.clark@dentons.com / trinity.jordan@dentons.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               Gary P Serdar
                                                                               CLERK OF COURT


Date:        07/25/2024
                                                                                         Signature of Clerk or Deputy Clerk
